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                        Exhibit 4



             Impared Non-Voting Status Notice
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                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE

    In re:                                           Chapter 11

    STANADYNE LLC, et al.,1                          Case No. 23-10207 (TMH)
                                                     (Jointly Administered)
                  Debtors.


                          NOTICE OF NON-VOTING STATUS
             OF INTERESTS CONCLUSIVELY DEEMED TO REJECT THE PLAN

PLEASE TAKE NOTICE THAT on __________, 2023, the United States Bankruptcy Court for
the District of Delaware (the “Court”) entered an order (the “Solicitation Order”) granting the
Motion of the Official Committee of Unsecured Creditors (the “Committee”) (i) Approving on an
Interim Basis the Adequacy of Disclosures in the Combined Disclosure Statement and Plan of
Liquidation (as may be modified, amended, or supplemented from time to time, the “Plan”), (ii)
Scheduling the Confirmation Hearing and Deadline for Filing Objections, (iii) Establishing
Procedures for Solicitation and Tabulation of Votes to Accept or Reject the Combined Disclosure
Statement and Plan of Liquidation, and Approving the Form of Ballot and Solicitation Package,
and (iv) Approving the Notice Provisions.

PLEASE TAKE FURTHER NOTICE THAT because of the nature and treatment of your Interest
under the Plan, you are not entitled to vote on the Plan. Specifically, under the terms of the Plan,
as a Holder of Equity Interest (as currently asserted against one or more of the Debtors), your
Interest is Impaired and conclusively deemed to have rejected the Plan pursuant to section 1126(g)
of the Bankruptcy Code, you are not entitled to vote on the Plan.

PLEASE TAKE FURTHER NOTICE THAT the hearing at which the Court will consider final
approval of the disclosures in the Plan and confirmation of the Plan (the “Combined Hearing”)
will commence on November 13, 2023 at 11:00 a.m. (prevailing Eastern Time), before the
Honorable Thomas Horan in the United States Bankruptcy Court for the District of Delaware.

PLEASE TAKE FURTHER NOTICE THAT the deadline for filing objections to the Plan is on
or before October 30, 2023 at 4:00 p.m. (prevailing Eastern Time) (the “Plan Objection
Deadline”).

Any objection to the Plan must: (a) be in writing; (b) conform to the Bankruptcy Rules, the Local
Rules, and any orders of the Court; (c) state with particularity the basis and nature of any objection
to the Plan and, if practicable, a proposed modification to the Plan that would resolve such
objection; and (d) be filed with the Court (contemporaneously with a proof of service) and served
upon the following parties so as to be actually received prior to the Plan Objection Deadline: (i)

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 .        The Debtors in these Chapter 11 Cases, along with the last four digits of each Debtor’s federal tax
identification number are: Stanadyne LLC (0378); Pure Power Technologies, Inc. (5202); Stanadyne PPT Holdings,
Inc. (2594); and Stanadyne PPT Group Holdings, Inc. (1734). The Debtors’ headquarters are located at 405 White
Street, Jacksonville, North Carolina 28546.
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Kathryn A.        Coleman, Esquire       and   Christopher Gartman,        Esquire   (email:
Katie.coleman@hugheshubbard.com and Chris.gartman@hugheshubbard.com) and (ii) Michael
Nestor, Esquire, Andrew Magaziner, Esquire, and Ashley Jacobs, Esquire (email:
mnestor@ycst.com, amagaziner@ycst.com, and Ajacobs@ycst.com), (b) counsel to the
Committee: (i) Adam C. Rogoff, Esquire and Rose Bagley, Esquire (email:
arogoff@kramerlevin.com and rbagley@kramerlevin.com) and (ii) Jeffrey R. Waxman, Esquire
and Eric J. Monzo, Esquire (email: jwaxman@morrisjames.com and emonzo@morrisjames.com),
(c) counsel to Cerberus: Michael L. Tuchin and David A. Fidler (email: mtuchin@ktbslaw.com
and dfidler@ktbslaw.com), and (d) Office of the United States Trustee, Jane Leamy, Esquire
(email: jane.m.leamy@usdoj.gov).

                               ADDITIONAL INFORMATION

The materials in the Solicitation Package are intended to be self-explanatory. If you would like
copies of any of the documents filed in these chapter 11 cases, such can be obtained for a fee via
PACER at: http://www.deb.uscourts.gov or contact counsel for the Committee, Jeffrey R.
Waxman, Esquire (jwaxman@morrisjames.com).

The Committee may file the Plan Supplement (as defined in the Plan) on or before October 19,
2023 at 4:00 p.m. (prevailing Eastern Time), and will serve notice on all Holders of Claims
entitled to vote on the Plan, which will: (a) inform parties that the Committee filed the Plan
Supplement; (b) list the information contained in the Plan Supplement; and (c) explain how parties
may obtain copies of the Plan Supplement.

Dated: September , 2023
                                            MORRIS JAMES LLP

                                            /s/ Jeffrey R. Waxman
                                            Jeffrey R. Waxman (DE Bar No. 4159)
                                            Eric J. Monzo (DE Bar No. 5214)
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                                             -and-

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                                            Counsel to the Official Committee of Unsecured
                                            Creditors



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